     Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     District of Kansas District of (State)
                                    _________________

     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                            Chapter 11
                                                            Chapter 12                                                             Check if this is an
                                                            Chapter 13                                                                amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                       06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Matrix  Electronic Measuring Inc.
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           DBA   The Matrix Wand
                                            ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                            Mailing address, if different from principal place
                                                                                                   of business
                                               1725 Vortex Ave.                                    P.O.  Box 1246
                                                                                                   _______________________________________________
                                            ______________________________________________
                                            Number     Street                                      Number      Street

                                            ______________________________________________         _______________________________________________
                                                                                                   P.O. Box

                                               Salina                     KS   67401
                                            ______________________________________________
                                                                                                   Salina                     KS      67402
                                                                                                   _______________________________________________
                                            City                        State    ZIP Code          City                      State      ZIP Code

                                                                                                   Location of principal assets, if different from
                                                                                                   principal place of business
                                               Saline County
                                            ______________________________________________
                                            County
                                                                                                   850 Pacific Court
                                                                                                   _______________________________________________
                                                                                                   Number     Street

                                                                                                   _______________________________________________

                                                                                                   Salina                     KS      67401
                                                                                                   _______________________________________________
                                                                                                   City                      State      ZIP Code




5.    Debtor’s website (URL)                 www.thematrixwand.com
                                            ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
                                   Case 23-21075       Doc# 1 Filed 09/11/23 Page 1 of 77
                Matrix Electronic Measuring Inc.
Debtor          _______________________________________________________                             Case number (if known)_____________________________________
                Name


                                               A. Check one:
7.    Describe debtor’s business
                                                Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                Railroad (as defined in 11 U.S.C. § 101(44))
                                                Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                               
                                               ✔ None of the above



                                               B. Check all that apply:
                                                Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                  § 80a-3)
                                                Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                                  See http://www.naics.com/search/ .
                                                  333310
                                                  _________

8.    Under which chapter of the               Check one:
      Bankruptcy Code is the                   
                                               ✔ Chapter 7
      debtor filing?
                                                Chapter 9
                                                Chapter 11. Check all that apply:
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                                    aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                    are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                            recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                            tax return or if any of these documents do not exist, follow the procedure in
                                                                    11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                             noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                    less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                                of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                                    any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                    § 1116(1)(B).

                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                    in accordance with 11 U.S.C. § 1126(b).

                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                    Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                    Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                    for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                    12b-2.
                                                Chapter 12
9.    Were prior bankruptcy cases               No
      filed by or against the debtor
      within the last 8 years?                  Yes. District _______________________ When _______________ Case number _________________________
                                                                                                    MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                     District _______________________ When _______________ Case number _________________________
                                                                                               MM / DD / YYYY

10. Are any bankruptcy cases                    No
      pending or being filed by a
      business partner or an                    Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                           District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                             MM / DD / YYYY
      attach a separate list.                            Case number, if known ________________________________

     Official Form 201                  Case 23-21075       Doc#
                                                Voluntary Petition     1 Filed 09/11/23
                                                                   for Non-Individuals                 Page 2 of 77
                                                                                       Filing for Bankruptcy                                   page 2
               Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______     ________________
                                                                                City                                         State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name       ____________________________________________________________________

                                                             Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                           ✔




                                           1-49
                                           ✔
                                                                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million
                                                                            ✔
                                                                                                                      $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 3
                                 Case 23-21075       Doc# 1 Filed 09/11/23 Page 3 of 77
             Matrix Electronic Measuring Inc.
Debtor       _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million
                                                                                 ✔
                                                                                                                        $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                             petition.
   debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            09/07/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Travis Young
                                             _____________________________________________               Travis Young
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                    President
                                             Title _________________________________________




18. Signature of attorney
                                          /s/ Neil Sader
                                             _____________________________________________              Date         09/07/2023
                                                                                                                     _________________
                                              Signature of attorney for debtor                                       MM   / DD / YYYY



                                              Neil Sader
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Sader Law Firm, LLC
                                             _________________________________________________________________________________________________
                                             Firm name
                                              2345 Grand Blvd. Suite 2150
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Kansas City
                                             ____________________________________________________           MO              64108
                                                                                                            ____________ ______________________________
                                             City                                                           State        ZIP Code

                                              816-561-1818
                                             ____________________________________                              nsader@saderlawfirm.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address



                                              16437                                                         KS
                                             ______________________________________________________ ____________
                                             Bar number                                             State




 Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 4
                                 Case 23-21075       Doc# 1 Filed 09/11/23 Page 4 of 77
 Fill in this information to identify the case:

                Matrix Electronic Measuring Inc.
  Debtor name _________________________________________________________________

                                          District of Kansas
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                       1,495,237.41
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         1,495,237.41
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                        3,503,219.63
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        1,348,669.84



4. Total liabilities ...........................................................................................................................................................................        4,851,889.47
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




                                                   Case 23-21075                             Doc# 1                Filed 09/11/23                          Page 5 of 77
  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
  Fill in this information to identify the case:

               Matrix Electronic Measuring Inc.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          District of Kansas
  Case number (If known):     _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :   Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    ✔




     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    0.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)               Type of account                 Last 4 digits of account number
          Bennington State Bank
    3.1. _________________________________________________  Checking
                                                           ______________________              0
                                                                                               ____  3
                                                                                                    ____ 8
                                                                                                         ____ 9
                                                                                                              ____               $______________________
                                                                                                                                   111,437.64
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 111,437.64
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :   De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    ✔


    Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________

                                       Case 23-21075         Doc# 1         Filed 09/11/23           Page 6 of 77
   Official Form 206A/B                                   Schedule A/B: Assets  Real and Personal Property                                   page 1
Debtor           Matrix Electronic Measuring Inc.
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                   $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     73,106.00
                                  ____________________________    0.00
                                                               – ___________________________          = ........                   73,106.00
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         0.00
                                   ___________________________    0.00
                                                               – ___________________________          = ........                   0.00
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                 73,106.00
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.


                                     Case 23-21075              Doc# 1         Filed 09/11/23             Page 7 of 77
Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 2
                Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name




Pa rt 5 :   I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                              Date of the last         Net book value of        Valuation method used        Current value of
                                                       physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                (Where available)
19. Raw materials
    ________________________________________                 ______________                                                          $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

20. Work in progress
                                                              06/30/2023                                                               65,102.71
  Work in Progress
   ________________________________________                  ______________                                                          $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

21. Finished goods, including goods held for resale
                                                                                                                                       78,694.75
  Finished Goods                                     06/30/2023
                                                    ______________
    ________________________________________                                    $__________________       ______________________     $______________________
                                                             MM / DD / YYYY

22. Other inventory or supplies
                                                                                                                                       1,200.00
  New  Camera & Lenses (Used for R & D)
   ________________________________________                  ______________                                                          $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________


23. Total of Part 5                                                                                                                    249,791.53
                                                                                                                                     $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔ No
      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

      No
      ✔


      Yes. Book value _______________              Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Pa rt 6 :   Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                       Net book value of        Valuation method used        Current value of debtor’s
                                                                                debtor's interest        for current value            interest
                                                                                (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________               $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________               $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________               $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________               $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________               $________________         ____________________     $______________________
                                    Case 23-21075                 Doc# 1        Filed 09/11/23             Page 8 of 77
Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                     page 3
                Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                   $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of     Valuation method             Current value of debtor’s
                                                                                 debtor's interest     used for current value       interest
                                                                                 (Where available)
39. Office furniture
Office Furniture
                                                                                  $________________     ____________________        2,347.43
                                                                                                                                  $______________________
40. Office fixtures

                                                                                  $________________     ____________________      $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
                                                                                  $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________      ____________________      $______________________
    42.2___________________________________________________________               $________________      ____________________      $______________________
    42.3___________________________________________________________               $________________      ____________________      $______________________
43. Total of Part 7.
                                                                                                                                     2,347.43
                                                                                                                                   $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
                                    Case 23-21075                Doc# 1         Filed 09/11/23          Page 9 of 77
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 4
                Matrix Electronic Measuring Inc.
 Debtor        _______________________________________________________                     Case number (if known)_____________________________________
               Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________      ____________________       $______________________

    47.2___________________________________________________________         $________________      ____________________       $______________________

    47.3___________________________________________________________         $________________      ____________________       $______________________

    47.4___________________________________________________________         $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________       ____________________       $______________________

    48.2__________________________________________________________         $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________       ____________________       $______________________

    49.2__________________________________________________________         $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    See continuation sheet
                                                                             0.00                                               1,058,554.81
    ______________________________________________________________         $________________       ____________________       $______________________


51. Total of Part 8.                                                                                                            1,058,554.81
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔ No
      Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔ No
      Yes




                                  Case 23-21075              Doc# 1       Filed 09/11/23         Page 10 of 77
 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
                   Matrix Electronic Measuring Inc.
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       Salina Vortex Corporation
55.1
       1725 Vortex Avenue
                                                                                                                                         0.00
                                                                                     $_______________      ____________________        $_____________________

55.2

                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                     0.00
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔ No
        Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔ No
        Yes
Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
                                                                                                                                          0.00
    thematrixwand.com
    ______________________________________________________________                   $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
       ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.                                                                                                                     0.00
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




                                      Case 23-21075                Doc# 1        Filed 09/11/23           Page 11 of 77
 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                                  page 6
Debtor            Matrix Electronic Measuring Inc.
                 _______________________________________________________                      Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔ No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔ No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔ No
     Yes
Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
     Yes. Fill in the information below.
      ✔

                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
71. Notes receivable
     Description (include name of obligor)
                                                                     _______________ –    __________________________         =   $_____________________
     ______________________________________________________
                                                                     Total face amount    doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
     D & O Policy, Federal Insurance Company - Policy No. xxxx-2988 Expires Oct. 14, 2023
    ______________________________________________________________                                                                  0.00
                                                                                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                 $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                   $_____________________
   ____________________________________________________________                                                                   $_____________________
78. Total of Part 11.
                                                                                                                                    0.00
                                                                                                                                  $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔ No
     Yes
                                       Case 23-21075           Doc# 1        Filed 09/11/23          Page 12 of 77
Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                page 7
                   Matrix Electronic Measuring Inc.
Debtor            _______________________________________________________                                              Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property
                                                                                                         111,437.64
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         73,106.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         249,791.53
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         2,347.43
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         1,058,554.81
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                            0.00
                                                                                                                                          $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                      0.00
90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                         1,495,237.41                      0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________

                                                                  1,495,237.41                                                                                   1,495,237.41
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................   $__________________




                                         Case 23-21075                      Doc# 1             Filed 09/11/23                     Page 13 of 77
Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                             page 8
                Matrix Electronic Measuring Inc.
 Debtor 1                                                                 _                  Case number (if known)
               First Name     Middle Name          Last Name



                                                       Continuation Sheet for Official Form 206 A/B

50) Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

Pre-paid Software                                                   62316.75                               0.00
Development

Wand Hardware                                                                                              704.32

CarFax Release                                                                                             473,943.71

Wand Software                                                                                              56,265.00

NexGen Camera Wand                                                                                         527,641.78

HD/Truck Wand                                                       3000.00                                0.00
Development




                                    Case 23-21075              Doc# 1      Filed 09/11/23           Page 14 of 77
Official Form 206 A/B                                                   Schedule A/B: Property
                                                 Matrix Electronic Measuring Inc.

                                                                 July 28, 2023
    Item                                Description                       Quantity On Hand     Cost       Extended Avg Cost

BA1010-V1   MAGNET MAGA HOOK..                                                           3         8.63                 25.88
BA1309-V1   13X17 Calibration Board..                                                   15       41.21                618.13
BA1310-V1   Sheets Printed (15 x 20.5)..                                                19       23.50                446.50
BA1876-V1   Fiducal Decal..                                                             26         2.17                 56.33
BP1024-V1   CART TABLE TOP..                                                            13      153.00               1,989.00
BP1031-V1   MATRIX WAND CART LOGO, CRADLE SIDE DECAL 14 X 17..                          20         7.95               159.09
BP1032-V1   MATRIX WAND CART LOGO, SEAL DECALS 2 X 2..                                 126         2.95               371.39
BP1075-V1   6FT HDMI CABLE (Computer to Monitor)..                                       6         3.80                 22.80
BP1145-V1   CRADLE..                                                                    39       65.54               2,556.06
BP1160-V1   1/4 X 2 5/16" ZINC J-BOLT..                                                  7         0.59                  4.13
BP1235-V1   HP DESK JET PRINTER..                                                        3       79.99                239.97
BP1236-V1   1 FOOT EXTENSION CORD..                                                      1         1.40                  1.40
BP1237-V1   Cart Cover..                                                                 2      204.00                408.00
CA1348-V1   LOGICS WIRELESS MOUSE..                                                      3       26.33                  78.99
CA1349-V1   COMPUTER & CHARGER..                                                         4     1,309.81              5,239.24
WA1014-V1   D5300 NIKON DSLR CAMERA BODY ONLY BLACK                                     37      429.00              15,873.00
WA1015-V1   D5300 CHARGER ONLY                                                          81       41.52               3,363.12
WA1020-V1   AF NIKKOR 20MM F/2.8D LENS..                                                 9      551.21               4,960.89
WA1025-V1   EN-EL14A RECHARGEABLE LI-ION BATTERY TRK D5300 & S                          21       35.25                740.25
WA1030-V1   62MM UV #010 MULTI COATED FILTER LENS..                                     31       29.95                928.45
WA1045-V1   16B Micro SDHCUltra Plus/Extreme          D5300 ..                          38         8.49               322.62
WA1060-V1   Jumper Board D5300 S&Y (4) per System..                                     15       92.02               1,380.30
WA1068-V1   4-Port USB 2.0 Hub Acrox..                                                   1         7.78                  7.78
WA1070-V1   AUTO WRITER PEN..                                                            1         4.15                  4.15
WA1075-V1   BackBone                                                                     3      277.00                831.00
WA1077-V1   USB CABLE UC-E6 Car (Inside Wand)..                                          9         7.95                 71.55
WA1080-V1   WAND URETHANE PARTS SET..                                                    3     1,200.00              3,600.00
WA1081-V1   mem_card_door                                                                4       14.00                  56.00
WA1090-V1   PAINT SLS PARTS SET D5300..                                                  3      200.00                600.00
WA1091-V1   QUICK CHECK REFERENCE & BINDER..                                             3         7.00                 21.00
WA1105-V1   150MM WIRING HARNESS D5300..                                                66       40.00               2,640.00
WA1107-V1   700MM WIRING HARNESS D5300..                                                70       45.00               3,150.00
WA1200-V1   SPACER BLOCK                                                                52       11.00                572.00
WA1210-V1   SCREEN SUPPORT..                                                            59       19.50               1,150.50
WA1214-V1   COVER SUPPORT..                                                             60       19.50               1,170.00
WA1216-V1   SHIM BLOCK D5300..                                                          14         4.02                 56.28
WA1220-V1   CLIP..                                                                      33       18.68                616.44
WA1230-V1   MATRIX BUTTONS                                                              54         6.70               361.80
WA1250-V1   SERIAL NUMBER PLATE SET ..                                                  11       12.00                132.00
WA1320-V1   MATRIX WAND CASE..                                                          15      319.86               4,797.90
SB1237-V1   PENS..                                                                     207            -                   -
SB1238-V1   HATS..                                                                      32       15.45                494.40
MEMCPO-V1   Pre-Owned Certified Matrix Wand 3D Measuring System                          1    10,000.00             10,000.00
CPO-828N    Certified Pre-Owned                                                          1    13,625.00             13,625.00
MEMWA-V1    Matrix Wand 3D Measuring System..                                            1     8,114.15              8,114.15
MEMWA-V2    Matrix Wand 3D Measuring System                                              1     7,148.92              7,148.92
                                                                                      Total                         99,006.40


                              Case 23-21075             Doc# 1     Filed 09/11/23      Page 15 of 77                            Page 1 of 1
  Fill in this information to identify the case:
              Matrix Electronic Measuring Inc.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: District of Kansas

  Case number (If known):       _________________________                                                                                             Check if this is an
                                                                                                                                                          amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                              12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                               Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                Amount of claim           Value of collateral
                                                                                                                               Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien          of collateral.            claim
     Bennington State Bank                                       All Inventory, Equipment and Fixtures
      __________________________________________                                                                                 641,997.17
                                                                                                                               $__________________          1,495,237.41
                                                                                                                                                          $_________________

     Creditor’s mailing address

      P.O. Box 3197
      ________________________________________________________
      Salina, KS 67402
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Agreement    you made, Commerical Security Agreement
                                                                 _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred            02/2008
                                     __________________          
                                                                 ✔ No

    Last 4 digits of account                                      Yes
    number                   0389
                             _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                 No
    same property?                                               
                                                                 ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Lee Young
                                                                 A/R, Inventory, Goodwill                                      $__________________
                                                                                                                                56,086.32                 $_________________
                                                                                                                                                           0.00
      __________________________________________
     Creditor’s mailing address
      1725 Vortex Avenue
      ________________________________________________________
      Salina, KS 67401
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
                             10/2009
    Date debt was incurred __________________
    Last 4 digits of account                                      Agreement you made
                                                                  _________________________________________________
    number                   5607
                             _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔ No
    same property?                                                Yes
    
    ✔ No
                                                                 Is anyone else liable on this claim?
     Yes. Have you already specified the relative                No
           priority?
                                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          No. Specify each creditor, including this
                creditor, and its relative priority.             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
          Yes. The relative priority of creditors is             Unliquidated
                   specified on lines _____                       Disputed
 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  3,503,219.63
                                                                                                                                $________________
    Page, if any.                         Case 23-21075                 Doc# 1           Filed 09/11/23            Page 16 of 77
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                        4
                                                                                                                                                            page 1 of ___
                   Matrix Electronic Measuring Inc.
  Debtor           _______________________________________________________                                   Case number (if known)_____________________________________
                    Name



                                                                                                                               Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Matrix Electronic Measuring Properties, LLC
                                                                 Blanket Lien
      __________________________________________                                                                                403,225.39
                                                                                                                               $__________________      0.00
                                                                                                                                                       $_________________
     Creditor’s mailing address

      1725 Vortex Avenue
      ________________________________________________________

      Salina, KS 67401
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred           01/01/2021
                                      __________________         Describe the lien
     Last 4 digits of account                                     Agreement you made, Security Agreement to Amended and Restated License Agreeme
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔ No
     same property?                                               Yes
     
     ✔ No

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No
            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

2.__
  4 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Salina Vortex Corp.
                                                                 A/R, Inventory, Goodwill
      __________________________________________                                                                                2,370,973.64
                                                                                                                               $__________________       0.00
                                                                                                                                                       $_________________
     Creditor’s mailing address


       1725 Vortex Ave.
      ________________________________________________________

       Salina, KS 67401
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred            11/01/2015
                                      __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   5600
                              _________________                   Personal Property also located at 850 Pacific Court, Salina KS 67401
                                                                  __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                               No
     
     ✔ No                                                        
                                                                 ✔ Yes

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No

            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed
                                            Case 23-21075               Doc# 1           Filed 09/11/23            Page 17 of 77
  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                                2 of ___
                                                                                                                                                                      4
                   Matrix Electronic Measuring Inc.
  Debtor           _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                              Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                            Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  5 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Thomas Srack - Bridge Loan
                                                                Cash from Series A Stock
     __________________________________________                                                                                13,128.90
                                                                                                                              $__________________      0.00
                                                                                                                                                      $_________________
     Creditor’s mailing address

     279 N. 170th Rd.
     ________________________________________________________

     Bennington, KS 67422
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            07/2009
                                      __________________        Describe the lien
    Last 4 digits of account
                                                                 __________________________________________________
    number                   _________________
                             5606
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                No
    same property?                                              
                                                                ✔ Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No
            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
            Yes. The relative priority of creditors is          Unliquidated
                    specified on lines _____                     Disputed

2.__
  6 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Wild Rhino LLC
                                                                A/R, Inventory, Goodwill
     __________________________________________                                                                                17,808.21
                                                                                                                              $__________________       0.00
                                                                                                                                                      $_________________
     Creditor’s mailing address


      1725 Vortex Avenue
     ________________________________________________________

      Salina, KS 67401
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred             09/20/2010
                                      __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   5610
                             _________________                   __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔ No

    
    ✔ No                                                         Yes
     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No

            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
            Yes. The relative priority of creditors is          Unliquidated
                    specified on lines _____                     Disputed
                                            Case 23-21075              Doc# 1           Filed 09/11/23            Page 18 of 77
  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page ___
                                                                                                                                                               3 of ___
                                                                                                                                                                     4
Debtor
               Matrix Electronic Measuring Inc.
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________


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Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      4 of ___
                                                                                                                                                           4
      Fill in this information to identify the case:

      Debtor
                      Matrix Electronic Measuring Inc.
                      __________________________________________________________________

                                              District of Kansas
      United States Bankruptcy Court for the: ________________________________

      Case number      ___________________________________________
      (If known)

                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                       12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
      
      ✔ No. Go to Part 2.

       Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim                Priority amount
2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account                                 Is the claim subject to offset?
      number      _______________________                       No
                                                                Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                            As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

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  Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                               9
                                                                                                                                            page 1 of ___
               Matrix Electronic Measuring Inc.
  Debtor       _______________________________________________________                               Case number (if known)_____________________________________
                Name


 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Amazon Web Services, Inc.                                                                                                  314.74
                                                                                                                             $________________________________
                                                                            Contingent
    410 Terry Ave. North                                                    Unliquidated
    Seattle, WA, 98109                                                      Disputed
                                                                                                   Suppliers or Vendors
                                                                           Basis for the claim:



    Date or dates debt was incurred            6/2018
                                               ___________________          Is the claim subject to offset?

    Last 4 digits of account number            5541
                                               ___________________         
                                                                           ✔ No
                                                                            Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    American Express                                                       Check all that apply.                               687.90
                                                                                                                             $________________________________
    PO Box 6031                                                             Contingent
    Carol Stream, IL, 60197                                                 Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:



    Date or dates debt was incurred            2017
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔ No
    Last 4 digits of account number            2007
                                               __________________           Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Connie Eustace Conv. Debt                                                                                                  16,984.32
                                                                                                                             $________________________________
                                                                            Contingent
    P.O. Box 356                                                            Unliquidated
    Salina, KS, 67402                                                       Disputed
                                                                           Basis for the claim:
                                                                                                   Monies Loaned / Advanced

    Date or dates debt was incurred            3/8/2012
                                               ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            5605
                                               __________________          
                                                                           ✔ No

                                                                            Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Cope Plastics, Inc                                                     Check all that apply.
                                                                                                                               48.04
                                                                                                                             $________________________________
    P.O. Box 368                                                            Contingent
    Godfrey, IL, 62035                                                      Unliquidated
                                                                            Disputed
                                                                            Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                             No
                                                                            Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    George Jerkovich IRA Conv. Debt                                                                                            27,616.74
                                                                                                                             $________________________________
                                                                           Check all that apply.
    501 S. Santa Fe. Suite 300                                              Contingent
    Salina, KS, 67401                                                       Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:
                                                                                                   Monies Loaned / Advanced

    Date or dates debt was incurred            2/2/2012
                                               ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            5602
                                               __________________          
                                                                           ✔ No
                                                                            Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    George Jerkovich IRA Conv. Debt                                                                                            10,739.85
                                                                                                                             $________________________________
                                                                           Check all that apply.
    501 S. Santa Fe. Suite 300                                              Contingent
    Salina, KS, 67401                                                       Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:    Monies Loaned / Advanced

    Date or dates debt was incurred            ___________________
                                               2/2/2012                    Is the claim subject to offset?
    Last 4 digits of account number            5602
                                               ___________________         
                                                                           ✔
                                                                             No
                                                                            Yes
                                  Case 23-21075               Doc# 1           Filed 09/11/23              Page 21 of 77
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                  Matrix Electronic Measuring Inc.
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             311,008.16
                                                                                                                     $________________________________
 Guidelight Business Solutions                                        Contingent
 301 E. Plasant Street                                                Unliquidated
 Amherst, MA, 01002                                                   Disputed
                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        09/2008
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       101,444.16
                                                                                                                     $________________________________
 HCI LLC & HCI LLC 02
 11208 Delmar St.                                                     Contingent
 Shawnee Mission, KS, 66211                                           Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred        12/18/2015
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       5612
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Janet Srack 01                                                      Check all that apply.
                                                                                                                      120,836.28
                                                                                                                     $________________________________
 279 N. 170th Road                                                    Contingent
 Bennington, KS, 67422                                                Unliquidated
                                                                      Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       3/31/2010
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              5603                   
                                                                     ✔
                                                                       No
                                                                      Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15,609.05
                                                                                                                     $________________________________
 Janet Srack 02                                                      Check all that apply.
 279 N. 170th Road                                                    Contingent
 Bennington, KS, 67422                                                Unliquidated
                                                                      Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred        10/2010
                                              ___________________    Is the claim subject to offset?
                                              5603                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Janet Srack 03                                                      Check all that apply.
                                                                                                                       2,954.23
                                                                                                                     $________________________________
 279 N. 170th Road                                                    Contingent
 Bennington, KS, 67422                                                Unliquidated
                                                                      Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred        5/29/2013
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              5603                    Yes


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                  Matrix Electronic Measuring Inc.
  Debtor          _______________________________________________________                     Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             4,608.64
                                                                                                                      $________________________________
 Janet Srack 04                                                        Contingent
 279 N. 170th Road                                                     Unliquidated
 Bennington, KS, 67422                                                 Disputed
                                                                      Basis for the claim:



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred         8/5/2013
                                               ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        5603
                                               ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        57,083.36
                                                                                                                      $________________________________
 Janet Srack 05
 279 N. 170th Road                                                     Contingent
 Bennington, KS, 67422                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        5603
                                               ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Joan Myers Jerkovich Conv. Debt                                      Check all that apply.
                                                                                                                       150,354.24
                                                                                                                      $________________________________
 539 Upper Mill Heights                                                Contingent
 Salina, KS, 67401                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred        1/24/2012
                                               ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________
                                               5603                   
                                                                      ✔
                                                                        No
                                                                       Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       20,098.84
                                                                                                                      $________________________________
 Kent M. Berkley Trust Conv. Debt                                     Check all that apply.
 P.O. Box 180                                                          Contingent
 Salina, KS, 67402                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred         2/2/2012
                                               ___________________    Is the claim subject to offset?
                                               5604                
                                                                   ✔
                                                                     No
        Last 4 digits of account number        ___________________  Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Matrix Electronic Measuring Properties, LLC                          Check all that apply.
                                                                                                                        269,147.11
                                                                                                                      $________________________________
 1725 Vortex Avenue                                                    Contingent
 Salina, KS, 67401                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Secure License Fee



        Date or dates debt was incurred         10/15/2010
                                               ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________
                                               5614                    Yes


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                  Matrix Electronic Measuring Inc.
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21,914.25
                                                                                                                     $________________________________
 Mitchell International, Inc.                                         Contingent
 P.O. Box 229001                                                      Unliquidated
 San Diego, CA, 92192                                                 Disputed
                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        05/2008
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       3354
                                              ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       11,171.88
                                                                                                                     $________________________________
 NCKCN
 dba StartUp Kansas                                                   Contingent
 P.O. Box 565                                                         Unliquidated
 Beloit, KS, 67420                                                    Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred        05/2008
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       0120
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nikon Inc.                                                          Check all that apply.
                                                                                                                      Unknown
                                                                                                                     $________________________________
 Wells Fargo Lock Box Operations                                      Contingent
 1740 Broadway-Lower Level 3                                          Unliquidated
 Denver, CO, 80274                                                    Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       10/2021
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              3179                   
                                                                     ✔
                                                                       No
                                                                      Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      8,005.54
                                                                                                                     $________________________________
 North Central Kansas Community Network Co.                          Check all that apply.
 109 N. Mill Street                                                   Contingent
 P.O. Box 565                                                         Unliquidated
 Beloit, KS, 67420                                                    Disputed
                                                                     Basis for the claim: Assigned by Four Rivers Development, Inc.



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              0115                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Oser Communications Group                                           Check all that apply.
                                                                                                                       3,500.00
                                                                                                                     $________________________________
 PO Box 30520                                                         Contingent
 Tucson, AZ, 85751                                                    Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Invoice No. 82515



        Date or dates debt was incurred        11/3/2021
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes


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                  Matrix Electronic Measuring Inc.
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             100.00
                                                                                                                     $________________________________
 Pho-Tech Service Center                                              Contingent
 110 N. Main                                                          Unliquidated
 Box 638                                                              Disputed
 Hesston, KS, 67062
                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        2008
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       44,319.43
                                                                                                                     $________________________________
 Salina Vortex Corp
 1725 Vortex Ave.                                                     Contingent
 Salina, KS, 67401                                                    Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Not Notes Payable



        Date or dates debt was incurred        04/2009
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       5211
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sandhills Investment Group                                          Check all that apply.
                                                                                                                      37,192.65
                                                                                                                     $________________________________
 c/o Mr. Scott Henderson                                              Contingent
 2129 Humburger Road                                                  Unliquidated
 Salina, KS, 67401                                                    Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       11/15/2012
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              5606                   
                                                                     ✔
                                                                       No
                                                                      Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      40,380.19
                                                                                                                     $________________________________
 Spencer Fane Britt & Browne LLP                                     Check all that apply.
 1000 Walnut Street                                                   Contingent
 Suite 1400                                                           Unliquidated
 Kansas City, MO, 64106                                               Disputed
                                                                     Basis for the claim: Legal Services



        Date or dates debt was incurred        06/2011
                                              ___________________    Is the claim subject to offset?
                                              7592                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tom Srack                                                           Check all that apply.
                                                                                                                       14,169.63
                                                                                                                     $________________________________
 279 N. 170th Road                                                    Contingent
 Bennington, KS, 67422                                                Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred        06/14/2010
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              5606                    Yes


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                  Matrix Electronic Measuring Inc.
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             73.20
                                                                                                                     $________________________________
 Web Creations & Consulting                                           Contingent
 119 W. Iron, FL 2                                                    Unliquidated
 Salina, KS, 67401                                                    Disputed
                                                                     Basis for the claim: Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        2019
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       32,945.16
                                                                                                                     $________________________________
 WHI 02 Wichita Holdings, Inc.
 Ms. Patricia Brashed                                                 Contingent
 7829 E. Rockhill, #307                                               Unliquidated
 Wichita, KS, 67206                                                   Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred        12/18/2015
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       5613
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 WHI Wichita Holdings, Inc.                                          Check all that apply.
                                                                                                                      25,000.00
                                                                                                                     $________________________________
 c/o Ms. Patricia Brashed                                             Contingent
 7829 E. Rockchild #307                                               Unliquidated
 Wichita, KS, 67206                                                   Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      362.25
                                                                                                                     $________________________________
 ZoHo Corp.                                                          Check all that apply.
 4141 Hacienda Drive                                                  Contingent
 San Jose, CA, 95113                                                  Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        08/2018
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      No
        Last 4 digits of account number       ___________________     Yes


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       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __    9
                                                                                                                                                   7 of ___
                    Matrix Electronic Measuring Inc.
     Debtor         _______________________________________________________                            Case number (if known)_____________________________________
                    Name



Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          American Express
4.1.      1801 NW 66th Ave., Suite 103                                                              3.2
                                                                                               Line _____
          Fort Lauderdale, FL, 33313                                                                                                            ________________
                                                                                                    Not listed. Explain:


4.2.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.3.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.4.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



41.                                                                                            Line _____

                                                                                                  Not listed. Explain                          ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




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       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __    9
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               Matrix Electronic Measuring Inc.
 Debtor        _______________________________________________________                    Case number (if known)_____________________________________
               Name



Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                  Total of claim amounts



5a. Total claims from Part 1                                                                         5a.
                                                                                                                    0.00
                                                                                                                  $_____________________________




5b. Total claims from Part 2                                                                         5b.    +       1,348,669.84
                                                                                                                  $_____________________________




5c. Total of Parts 1 and 2                                                                                          1,348,669.84
                                                                                                     5c.          $_____________________________
   Lines 5a + 5b = 5c.




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   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page __    9
                                                                                                                                                9 of ___
 Fill in this information to identify the case:

             Matrix Electronic Measuring Inc.
 Debtor name __________________________________________________________________

                                         District of Kansas
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                       7
                                                                    Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease
                                       Account No. 7001639209                           Zoom
         State what the contract or    Lessee                                           55 Almaden Blvd.
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                        San Jose, CA, 95113

         State the term remaining
         List the contract number of
         any government contract

                                       Account No. 235894137                            GoDaddy Operating Company LLC
         State what the contract or    Lessee                                           2155 E. GoDaddy Way
 2.2     lease is for and the nature
         of the debtor’s interest                                                       Tempe, AZ, 85284

         State the term remaining
         List the contract number of
         any government contract

                                       Account No. 445649495541                         Amazon Web Services, Inc.
         State what the contract or    Lessee                                           410 Terry Ave. North
 2.3     lease is for and the nature
         of the debtor’s interest                                                       Seattle, WA, 98109

         State the term remaining
         List the contract number of
         any government contract

                                       support@thematrixwand.com                        DropBox, Inc.
         State what the contract or
 2.4                                   Lessee                                           1800 Owen Street
         lease is for and the nature
         of the debtor’s interest                                                       San Francisco, CA, 94158

         State the term remaining
         List the contract number of
         any government contract

                                       Executory Contract                                Mitchell International, Inc.
         State what the contract or    Lessee
 2.5     lease is for and the nature
                                                                                         P.O. Box 229001
         of the debtor’s interest                                                        San Diego, CA, 92192

         State the term remaining
         List the contract number of
         any government contract



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Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       16
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               Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                       Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Subscription Service                           O.K.C. Autobody Inc.
            State what the contract or    Lessor                                         1830 N Market
   6
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Sparta, IL, 62286
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Randy's Body Shop
            State what the contract or    Lessor                                         1008 Kentucky Ave
   7
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Paducah, KY, 42003
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Russom's CARSTAR Collision
            State what the contract or    Lessor                                         2340 Upper Finley RD.
   8
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Dyersburg, TN, 38024
            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Subscription Service                           Key Buick GMC Hyundai
   9
 2.____     lease is for and the nature   Lessor                                         4660 Southside Blvd
            of the debtor’s interest
                                                                                         Jacksonville, FL, 32216
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Fix Auto Decarie
            State what the contract or    Lessor                                         5400 Rue Ferrier, Ville Mont-Royal, QC, H4P 1M2
   10
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         ,
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           George's Paint & Body
            State what the contract or
   11
 2.____     lease is for and the nature   Lessor                                         200 E. 32nd St.
            of the debtor’s interest
                                                                                         Bryan, TX, 77803
            State the term remaining
            List the contract number of
            any government contract

                                          Month to Month lease - 1725 Vortex             Salina Vortex Corporation
            State what the contract or
   12
 2.____     lease is for and the nature
                                          Avenue, Salina, Kansas                         1725 Vortex Ave.
            of the debtor’s interest      Lessee                                         Salina, KS, 67401

            State the term remaining
            List the contract number of
            any government contract

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                                                                                                                                                   16
               Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Subscription Service                           Hjelm's Body Shop
            State what the contract or    Lessor                                         111 W. 13th st
   13
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Helena, MT, 59601
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Majestic Auto Body
            State what the contract or    Lessor                                         1456 N 25th E
   14
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Idaho Falls, ID, 83401
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           MC AUTO BODY
            State what the contract or    Lessor                                         2122 KALIAWA ST
   15
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Honolulu, HI, 96819
            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Subscription Service                           Auto Body Hawaii
   16
 2.____     lease is for and the nature   Lessor                                         73-56501 Maiau Street
            of the debtor’s interest
                                                                                         Kailua Kona, HI, 96740
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           CARSTAR Ellis Brothers Collision
            State what the contract or    Lessor                                         4935 Technical Drive
   17
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Milford, MI, 48380
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           CARSTAR Precision Collision Auto Body
            State what the contract or
   18
 2.____     lease is for and the nature   Lessor                                         13928 233rd Street
            of the debtor’s interest
                                                                                         Cold Spring, MN, 56320
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Anderson & Koch Ford- Body Shop
            State what the contract or
   19
 2.____     lease is for and the nature
                                          Lessor                                         5577 St Croix Trail
            of the debtor’s interest
                                                                                         New Branch, MN, 55056
            State the term remaining
            List the contract number of
            any government contract

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               Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                       Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Subscription Service                           Auto Fix South Bay
            State what the contract or    Lessor                                         1401 AVIATION BOULEVARD
   20
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Redondo Beach, CA, 90278
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           David's Collision Repair Inc.
            State what the contract or    Lessor                                         900 West Street
   21
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Georgetown, TX, 78626
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Auto Tech Services Inc
            State what the contract or    Lessor                                         1856 Lone Star Road
   22
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Mansfield, TX, 76063
            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Subscription Service                           B & D Autobody
   23
 2.____     lease is for and the nature   Lessor                                         1488 Clark Drive, Vancouver, BC, V5L 3K8
            of the debtor’s interest
                                                                                         ,
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Hampden Auto Body
            State what the contract or    Lessor                                         2801 West Hampden Ave.
   24
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Englewood, CO, 80110
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Ken Vance Motors
            State what the contract or
   25
 2.____     lease is for and the nature   Lessor                                         2900 Lorch Ave.
            of the debtor’s interest
                                                                                         Eau Claire, WI, 54701
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           O'Hare Auto Body
            State what the contract or
   26
 2.____     lease is for and the nature
                                          Lessor                                         1316 W. Irving Park Road
            of the debtor’s interest
                                                                                         Bensenville, IL, 60106
            State the term remaining
            List the contract number of
            any government contract

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               Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Subscription Service                           Performance Collision Center
            State what the contract or    Lessor                                         3396 Port Union Rd
   27
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Fairfield, OH, 45014
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Sines Body Shop, Inc.
            State what the contract or    Lessor                                         2425 West Old Farmington Road
   28
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Fayetteville, AR, 72702
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Troy CARSTAR
            State what the contract or    Lessor                                         15 N Kings Chapel Dr
   29
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Troy, OH, 45373
            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Subscription Service                           Bebrick Collision
   30
 2.____     lease is for and the nature   Lessor                                         1515 La Salle Ave
            of the debtor’s interest
                                                                                         Waco, TX, 76706
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           First Aid Collision
            State what the contract or    Lessor                                         369 Rockwood Rd
   31
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Arden, NC, 28704
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Fix Auto Redlands
            State what the contract or
   32
 2.____     lease is for and the nature   Lessor                                         1976 Essex Ct
            of the debtor’s interest
                                                                                         Redlands, CA, 92373
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Iowa Auto Rebuilders
            State what the contract or
   33
 2.____     lease is for and the nature
                                          Lessor                                          2550 Ranchero Rd.
            of the debtor’s interest
                                                                                         Waterloo, IA, 50701
            State the term remaining
            List the contract number of
            any government contract

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               Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                       Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Subscription Service                           Long Collision Center
            State what the contract or    Lessor                                          9 Sutton Rd
   34
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Webster, MA, 01570
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Waldron's CARSTAR Auto Body
            State what the contract or    Lessor                                         125 Elm St.
   35
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Marlborough, MA, 01752
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           APC Auto Body
            State what the contract or    Lessor                                         28 Ventura Dr
   36
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         North Dartmouth, MA, 02747
            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Subscription Service                           Buntings Auto Body LLC
   37
 2.____     lease is for and the nature   Lessor                                         1405 Xenium Lane North (PCC180)
            of the debtor’s interest
                                                                                         Minneapolis, MN, 55441
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Carrillo & Sons Collison Center Inc.
            State what the contract or    Lessor                                         4680 Old Cliffs Rd
   38
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         San Diego, CA, 92120
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           CARSTAR Poplar Bluff
            State what the contract or
   39
 2.____     lease is for and the nature   Lessor                                         624 S. Westwood Blvd.
            of the debtor’s interest
                                                                                         Poplar Bluff, MO, 63901
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Carstar Brampton
            State what the contract or
   40
 2.____     lease is for and the nature
                                          Lessor                                         110 Advance Blvd., Brampton, ON, L6T 4J4
            of the debtor’s interest
                                                                                         ,
            State the term remaining
            List the contract number of
            any government contract

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               Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Subscription Service                           Corporativo Boya S.A de C.V.
            State what the contract or    Lessor                                         Mariano Abasolo 612
   41
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         San Pedro Garza Garcia, 66237
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           CARSTAR of Hayden
            State what the contract or    Lessor                                         1770 W Hayden Ave.
   42
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Hayden, ID, 83835
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Coggin Collision Center Of Arlington
            State what the contract or    Lessor                                         7245 Blanding Blvd
   43
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Jacksonville, FL, 32244
            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Subscription Service                           Collimotive Carstar
   44
 2.____     lease is for and the nature   Lessor                                         2822 Forsyth Rd Ste-101
            of the debtor’s interest
                                                                                         Winter Park, FL, 32792
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Mr. B's Paint & Body
            State what the contract or    Lessor                                         1410 Valencia Dr. SE
   45
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Albuquerque , NM, 87108
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           CARSTAR Porter's Kearney Body
            State what the contract or
   46
 2.____     lease is for and the nature   Lessor                                         104 W Main St
            of the debtor’s interest
                                                                                         Kearney , MO, 64060
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           CARSTAR Scola's Collision Center
            State what the contract or
   47
 2.____     lease is for and the nature
                                          Lessor                                         9110 Ogden Avenue
            of the debtor’s interest
                                                                                         Brookfield , IL, 60513
            State the term remaining
            List the contract number of
            any government contract

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                                                                                                                                                  16
               Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                       Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Subscription Service                           Flower Hill Auto Body
            State what the contract or    Lessor                                         165 Shore Rd
   48
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                          Glenwood Landing , NY, 11547
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Perfection Auto Inc.
            State what the contract or    Lessor                                         811 Garfield St.
   49
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                          Oak Park , IL, 60304
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Precision Autobody Repair
            State what the contract or    Lessor                                         2326 Ave C, North, Saskatoon, SK, S7L5X5
   50
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         ,
            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Subscription Service                           CARSTAR Scola's Collision Center
   51
 2.____     lease is for and the nature   Lessor                                         9110 Ogden Avenue
            of the debtor’s interest
                                                                                          Brookfield , IL, 60513
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Collimotive Carstar
            State what the contract or    Lessor                                         2822 Forsyth Rd Ste-101
   52
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                          Winter Park , FL, 32792
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Weaver's Body Shop of Gettysburg
            State what the contract or
   53
 2.____     lease is for and the nature   Lessor                                         5670 Hanover Road
            of the debtor’s interest
                                                                                         Hanover, PA, 17331
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Conestoga Collision, LLC
            State what the contract or
   54
 2.____     lease is for and the nature
                                          Lessor                                         961 Lancaster Ave
            of the debtor’s interest
                                                                                         Berwyn, PA, 19312
            State the term remaining
            List the contract number of
            any government contract

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                                                                                                                                                   16
               Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Subscription Service                           Crawford Body Shop
            State what the contract or    Lessor                                         1240 Albion Avenue
   55
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Burley, ID, 83318
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Cutting Edge Refinishing, Inc dba Cutting
            State what the contract or    Lessor                                         350 E Irvington Rd
   56
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Tucson, AZ, 85714
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           DCR/Classic Accident Repair Center
            State what the contract or    Lessor                                         1810 Peachtree Industrial Blvd., Ste 250
   57
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Duluth, GA, 30097
            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Subscription Service                           McLaughlin Motors Inc
   58
 2.____     lease is for and the nature   Lessor                                         4104 41st Street
            of the debtor’s interest
                                                                                         Moline, IL, 61265
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Perfection Auto Body
            State what the contract or    Lessor                                         700 S Pine St.
   59
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Burlington, WI, 53105
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Porter Auto Body East
            State what the contract or
   60
 2.____     lease is for and the nature   Lessor                                         300 E. Clevland Ave
            of the debtor’s interest
                                                                                         Newark, DE, 19711
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Waldron's A-1 Auto Body
            State what the contract or
   61
 2.____     lease is for and the nature
                                          Lessor                                         164 High Street Extension
            of the debtor’s interest
                                                                                         Lancaster, MA, 01523
            State the term remaining
            List the contract number of
            any government contract

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               Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




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     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Subscription Service                           FRANK'S ACCURATE BODY SHOP
            State what the contract or    Lessor                                         684 E I-10 SERVICE RD
   62
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Slidell, LA, 70461
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           DCR Systems LLC
            State what the contract or    Lessor                                         1810 Peachtree Industrial Blvd., Ste 250
   63
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Duluth, GA, 30097
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Midway Collision Center
            State what the contract or    Lessor                                         155 Rte 108, PO Box 149
   64
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Somersworth, NH, 03878
            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Subscription Service                           Mitchell's Crash Repair
   65
 2.____     lease is for and the nature   Lessor                                         1021 15th St N
            of the debtor’s interest
                                                                                         Great Falls, MT, 59401
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Ogston's Body & Paint
            State what the contract or    Lessor                                         50 West Central Entrance
   66
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Duluth, MN, 55811
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Porter Auto Body West
            State what the contract or
   67
 2.____     lease is for and the nature   Lessor                                         300 E. Cleveland Avenue
            of the debtor’s interest
                                                                                         Newark, DE, 19711
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Randazzo's Gallery Collision Center Inc.
            State what the contract or
   68
 2.____     lease is for and the nature
                                          Lessor                                         385 East North Street
            of the debtor’s interest
                                                                                         Bradley, IL, 60915
            State the term remaining
            List the contract number of
            any government contract

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               Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                       Case number (if known)_____________________________________
               Name




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     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Subscription Service                           Sound Collision Center
            State what the contract or    Lessor                                         750 Rainier Ave S
   69
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Renton, WA, 98057
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           DJ Sullivan Collision
            State what the contract or    Lessor                                         10 Lone Street
   70
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Marshfield, MA, 02050
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Eustis Body Shop
            State what the contract or    Lessor                                         110 N. Main Street
   71
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Eustis, NE, 69028
            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Subscription Service                           First Aid Collision
   72
 2.____     lease is for and the nature   Lessor                                         369 Rockwood Rd
            of the debtor’s interest
                                                                                         Arden, NC, 28704
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Sidney Body CARSTAR
            State what the contract or    Lessor                                         175 E. Stolle Ave
   73
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Sidney, OH, 45365
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           The Body Shop
            State what the contract or
   74
 2.____     lease is for and the nature   Lessor                                         702 S Monaco Pkwy
            of the debtor’s interest
                                                                                         Denver, CO, 80224
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Universal Collision Centre
            State what the contract or
   75
 2.____     lease is for and the nature
                                          Lessor                                         3910 Rochdale Blvd., Regina, SK, S4X 4P7
            of the debtor’s interest
                                                                                         ,
            State the term remaining
            List the contract number of
            any government contract

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               Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

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     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Subscription Service                           D&M Auto Body
            State what the contract or    Lessor                                         352 E. Main Street
   76
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Rockaway, NJ, 07866
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Jerry Rhynes Collision Repair
            State what the contract or    Lessor                                          10200 Ablemarle Road
   77
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Charlotte, NC, 28227
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Rife's Autobody - Grandview
            State what the contract or    Lessor                                         2300 Cardigan Ave
   78
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Columbus, OH, 43215
            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Subscription Service                           Tucker Auto Body & Towing
   79
 2.____     lease is for and the nature   Lessor                                         463 West Aten Road
            of the debtor’s interest
                                                                                         Imperial, CA, 92251
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Body Builders Automotive, Inc
            State what the contract or    Lessor                                         3960 Industrial Ave
   80
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Rolling Meadows, IL, 60008
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Coggin Collision Center Of Orange Park
            State what the contract or
   81
 2.____     lease is for and the nature   Lessor                                         7245 Blanding Blvd
            of the debtor’s interest
                                                                                         Jacksonville, FL, 32244
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           ELI'S AUTO CENTER
            State what the contract or
   82
 2.____     lease is for and the nature
                                          Lessor                                         8435 W. 3RD STREET
            of the debtor’s interest
                                                                                         Los Angeles, CA, 90048
            State the term remaining
            List the contract number of
            any government contract

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               Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                       Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

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     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Subscription Service                           Ron's Collision Center
            State what the contract or    Lessor                                         918 Storystown Rd
   83
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Somerset, PA, 15501
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Three C Body Shop
            State what the contract or    Lessor                                         2300 Briggs Road
   84
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Columbus, OH, 43223
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           ENS Collision
            State what the contract or    Lessor                                         285 Venture Cresent, Saskatoon, SK, S7K 6N8
   85
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         ,
            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Subscription Service                           Jones Auto Wrecking
   86
 2.____     lease is for and the nature   Lessor                                          1408 W Darlington St
            of the debtor’s interest
                                                                                         Florence, SC, 29501
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Russom's CARSTAR Collision-Cape Girardeau
            State what the contract or    Lessor                                         450 Siemers Drive
   87
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Cape Girardeau, MO, 63701
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Russom's CARSTAR Collision - Rutherford
            State what the contract or
   88
 2.____     lease is for and the nature   Lessor                                         432 N. Trenton Street
            of the debtor’s interest
                                                                                         Rutherford, TN, 38369
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Thomas Waldron CARSTAR Auto Body
            State what the contract or
   89
 2.____     lease is for and the nature
                                          Lessor                                         225 Grafton Street
            of the debtor’s interest
                                                                                         Worcester, MA, 01604
            State the term remaining
            List the contract number of
            any government contract

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               Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                       Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

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     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Subscription Service                           A&B Autobody
            State what the contract or    Lessor                                         1650 Winnipeg Street, Regina, SK, S4P 1E8
   90
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         ,
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           MAURICE'S AUTO REPAIR & TOWING
            State what the contract or    Lessor                                         2940 Drane Field Road
   91
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Lakeland, FL, 33811
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Collision Specialists Inc
            State what the contract or    Lessor                                         1410 21st Ave NW
   92
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Austin, MN, 55912
            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Subscription Service                           Lenny's Auto Body
   93
 2.____     lease is for and the nature   Lessor                                          540 Wareham St
            of the debtor’s interest
                                                                                         Middleboro, MA, 02346
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Manuel Collision Center, Inc.
            State what the contract or    Lessor                                         18120 County Road 3560
   94
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Ada, OK, 74820
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Westchester Classic Cars & Coachwork LTD
            State what the contract or
   95
 2.____     lease is for and the nature   Lessor                                         7 Shalvoys Ln
            of the debtor’s interest
                                                                                         Danbury, CT, 06810
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Fix Auto Springfield
            State what the contract or
   96
 2.____     lease is for and the nature
                                          Lessor                                         3445 Main Street
            of the debtor’s interest
                                                                                         Springfield, OR, 97478
            State the term remaining
            List the contract number of
            any government contract

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               Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                       Case number (if known)_____________________________________
               Name




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     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Subscription Service                           Garage Landry ET Fils
            State what the contract or    Lessor                                         303 William, Drummondville, QC, J2C 3C2
   97
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         ,
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Northside Collision
            State what the contract or    Lessor                                         12227 San Pedro Ave
   98
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                          San Antonio , TX, 76216
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Johnny's Pro Auto Body
            State what the contract or    Lessor                                          1010 US-64 East
   99
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Wynne, AR, 72396
            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Subscription Service                           Top Gun Autobody
   100
 2.____     lease is for and the nature   Lessor                                         2809 York Road
            of the debtor’s interest
                                                                                         Helena, MT, 59602
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Top Gun Autobody - Townsend
            State what the contract or    Lessor                                         7675 US-287
   101
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Townsend, MT, 59644
            State the term remaining
            List the contract number of
            any government contract

                                          Amended and Restated License                   Matrix Electronic Measuring Properties, LLC
            State what the contract or
   102
 2.____     lease is for and the nature   and Purchase Agreement                         1725 Vortex Avenue
            of the debtor’s interest      Lessee                                         Salina, KS, 67401

            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           Purnell Body Shop
            State what the contract or
   103
 2.____     lease is for and the nature
                                          Lessor                                         211 Blue Ball Ave.
            of the debtor’s interest
                                                                                         Elkton, MD, 21921
            State the term remaining
            List the contract number of
            any government contract

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               Matrix Electronic Measuring Inc.
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




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     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Subscription Service                           Valley Collision II
            State what the contract or    Lessor                                         645 E San Bernardino Rd
   104
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Covina, CA, 91723
            State the term remaining
            List the contract number of
            any government contract

                                          Subscription Service                           V&J Auto Body
            State what the contract or    Lessor                                         941 Wellwood Ave
   105
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Lindenhurst, NY, 11757
            State the term remaining
            List the contract number of
            any government contract


            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract


            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

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 Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                        page ___
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                                                                                                                                                   16
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Matrix Electronic Measuring Inc.

                                         District of Kansas
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1 Janet & Robert                  279 N. 170th Road                                                   Bennington State Bank               ✔ D
                                                                                                                                             
       Srack                         Bennington, KS 67422                                                                                     E/F
                                                                                                                                              G




 2.2                                 279 N. 170th Road
                                                                                                                                              D
                                     Bennington, KS 67422                                                                                    ✔ E/F
                                                                                                                                             
       Janet Srack                                                                                       American Express                     G




 2.3
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




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Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
Fill in this information to identify the case:
             Matrix Electronic Measuring Inc.
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: District of Kansas     District of _________
                                                                              (State)
Case number (If known):   _________________________                                               ___________________________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

     None
            Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                  Gross revenue
            may be a calendar year                                                             Check all that apply                (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                           
                                                                                               ✔ Operating a business
                                                                                                                                               207,922.76
           fiscal year to filing date:           07/19/2023
                                           From ___________         to     Filing date          Other                              $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2022
                                           From ___________         to     12/31/2022
                                                                           ___________         
                                                                                               ✔ Operating a business                          500,900.95
                                                                                                                                    $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/01/2021
                                           From ___________         to     12/31/2021
                                                                           ___________         
                                                                                               ✔ Operating a business
                                                                                                                                               603,133.03
                                                  MM / DD / YYYY            MM / DD / YYYY                                          $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None

                                                                                               Description of sources of revenue   Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                                                                              0.00
                                                                                              ___________________________          $__________________
           fiscal year to filing date: From 07/19/2023
                                            ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From 01/01/2022
                                                ___________         to      12/31/2022
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                         0.00
                                                                                                                                   $__________________



           For the year before that:       From 01/01/2021
                                                ___________         to      12/31/2021
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY    ___________________________
                                                                                              ERC Payments                                    34,415.00
                                                                                                                                   $__________________




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Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
    adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
            Creditor’s name and address                        Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
                                                            06/30/2023
             Bennington State Bank
            __________________________________________                        $_________________
                                                                               12,715.00                    
                                                                                                            ✔     Secured debt
            Creditor’s name
             P.O. Box 3197
                                                                                                                 Unsecured loan repayments
             Salina, KS 67402                                                                                    Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


     3.2.

                                                                              $_________________                 Secured debt
            __________________________________________
            Creditor’s name                                                                                      Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔ None
            Insider’s name and address                         Dates          Total amount or value        Reasons for payment or transfer
     4.1.

            __________________________________________       _________       $__________________
            Insider’s name

                                                             _________

                                                             _________


            Relationship to debtor
            __________________________________________



     4.2.   __________________________________________
            Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




            Relationship to debtor

            __________________________________________



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                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
     ✔
             Case title                              Nature of case                          Court or agency’s name and address                Status of case

     7.1.                                                                                                                                       Pending
                                                                                                                                                On appeal
             Case number                                                                                                                        Concluded

             _________________________________

             Case title                                                                      Court or agency’s name and address
                                                                                                                                                Pending
     7.2.
                                                                                                                                                On appeal
             Case number
                                                                                                                                                Concluded


             _________________________________


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Debtor           _______________________________________________________                             Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                         Description of the property                        Value

             __________________________________________           ______________________________________             $_____________
             Custodian’s name
                                                                  Case title                                         Court name and address

                                                                 ______________________________________            __________________________________________
                                                                                                                   Name
                                                                  Case number


                                                                 ______________________________________
                                                                  Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                         Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                        _________________   $__________
            Recipient’s name


                                                                                                                              _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                        _________________   $__________
     9.2. Recipient’s name



                                                                                                                              _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss    Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                             If you have received payments to cover the loss, for                            lost
                                                                  example, from insurance, government compensation, or
                                                                  tort liability, list the total received.
                                                                  List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                  Assets – Real and Personal Property).


                                                                  ___________________________________________                 _________________   $__________



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              Name




 Part 6:     Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

      None
           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

           Sader Law Firm, LLC
           __________________________________________         Flat Fee Legal Fees $50,000 plus $5,000.00
   11.1.                                                                                                                 07/12/2023
                                                              towards expenses; SLF also maintains $359.75               ______________      $_________
                                                                                                                                               55,000.00
           Address                                            in trust for Debtor from early 2022
                                                              representation.
           2345 Grand Blvd. Suite 2150
           Kansas City, MO 64108




           Email or website address
           _________________________________

           Who made the payment, if not debtor?


           __________________________________________


           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.   __________________________________________
                                                                                                                         ______________      $_________
           Address




           Email or website address


           __________________________________________


           Who made the payment, if not debtor?

           __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔ None
           Name of trust or device                            Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


           __________________________________________                                                                     ______________      $_________

           Trustee

           __________________________________________




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              Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔ None

           Who received transfer?                              Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.   __________________________________________                                                                     ________________     $_________

           Address




           Relationship to debtor

           __________________________________________




           Who received transfer?                                                                                         ________________     $_________

   13.2.   __________________________________________

           Address




           Relationship to debtor

           __________________________________________



 Part 7:     Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
           Address                                                                                              Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




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Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name




 Part 8:       Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔ No. Go to Part 9.
      Yes. Fill in the information below.
           Facility name and address                         Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.1.   ________________________________________                                                                                      ____________________
           Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                         Check all that apply:

                                                                                                                                          Electronically
                                                                                                                                          Paper
                                                             Nature of the business operation, including type of services the            If debtor provides meals
           Facility name and address                         debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.2.                                                                                                                                 ____________________
           ________________________________________
           Facility name


                                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                         Check all that apply:
                                                                                                                                          Electronically
                                                                                                                                         Paper

 Part 9:       Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔ No.
      Yes. State the nature of the information collected and retained. ___________________________________________________________________
               Does the debtor have a privacy policy about that information?
             
              No
              Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔ No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?
             No. Go to Part 10.
             Yes. Fill in below:
                      Name of plan                                                                             Employer identification number of the plan

                      _______________________________________________________________________                  EIN: ___________________________________

                    Has the plan been terminated?
                     No
                     Yes

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              Name




 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔ None

           Financial institution name and address          Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.   ______________________________________          XXXX–__________                 Checking                  ___________________      $__________
           Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.   ______________________________________          XXXX–__________                 Checking                  ___________________      $__________
           Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔ None
            Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

           ______________________________________                                                                                                     No
           Name                                                                                                                                       Yes


                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔ None
            Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
           ______________________________________
           Name
                                                                                                                                                       Yes



                                                            Address




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              Name




 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔ None


          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:     Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔ No

      Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                    Pending
                                                     _____________________________________
          Case number                                Name                                                                                      On appeal
          _________________________________                                                                                                    Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔ No

      Yes. Provide details below.
         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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Debtor         _______________________________________________________                       Case number (if known)_____________________________________
               Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔ No

      Yes. Provide details below.
           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


           __________________________________       ______________________________________                                                     __________
           Name                                     Name




 Part 13:         Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔ None



           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.   __________________________________
           Name                                                                                            Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
           __________________________________
           Name                                                                                            Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
           __________________________________
           Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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                  Name




 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

             None
              Name and address                                                                              Dates of service


              Scott E. Henderson                                                                            From 01/01/2008
                                                                                                                 _______
   26a.1.     __________________________________________________________________________________
              Name                                                                                             08/31/2023
              Long & Associates Public Accountants, Inc., 300 S. Ninth Street, Suite 103, Salina KS         To _______
              67401




              Name and address                                                                              Dates of service

                                                                                                            From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                            To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔ None


                   Name and address                                                                         Dates of service

                                                                                                            From _______
         26b.1.    ______________________________________________________________________________
                   Name
                                                                                                            To _______




                                                                                                            Dates of service
                   Name and address

                                                                                                            From _______
         26b.2.
                   ______________________________________________________________________________
                   Name                                                                                     To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
             None
                   Name and address                                                                         If any books of account and records are
                                                                                                            unavailable, explain why


         26c.1.    Jessica Sander, Controller
                   ______________________________________________________________________________
                   Name
                    Salina Vortex Corporation, 1725 Vortex Avenue, Salina KS 67401




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                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔ None


                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔ No

      Yes. Give the details about the two most recent inventories.


               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




           Name of the person who supervised the taking of the inventory                      Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

           ______________________________________________________________________             _______         $___________________

           Name and address of the person who has possession of inventory records


   27.2.   ______________________________________________________________________
           Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                     Address                                                  Position and nature of any interest      % of interest, if any
 Travis Young                               1725 Vortex Ave., Salina, KS 67401                       President


 John Divine                                P.O. Box 2206, Salina, KS 67402                          Board Chair


 Matrix Electronic Measuring, LP            1725 Vortex Road, Salina, KS 67401                                                               51.70


 Hansen Capital Investments, LLC            11208 Delmar St., Shawnee Mission, KS 66211              Share Holder                            0.188


 David Nicol                                9871 W. 83rd St., Shawnee Mission, KS 66204              Share Holder-Series A                   0.470


 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

      Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                               Address                                                  interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     ✔ No

      Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
           Name and address of recipient                                             and value of property                                   the value

   30.1.   ______________________________________________________________             _________________________          _____________
           Name


                                                                                                                         _____________


                                                                                                                         _____________

           Relationship to debtor                                                                                        _____________

           ______________________________________________________________                                                _____________
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 13
                                    Case 23-21075            Doc# 1        Filed 09/11/23            Page 58 of 77
                Matrix Electronic Measuring Inc.
Debtor          _______________________________________________________                            Case number (if known)_____________________________________
                Name




             Name and address of recipient
                                                                                           __________________________     _____________

   30.2      ______________________________________________________________
             Name                                                                                                         _____________

                                                                                                                          _____________



                                                                                                                          _____________


             Relationship to debtor                                                                                       _____________

             ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔ No

      Yes. Identify below.
             Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                         corporation

             ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔ No

      Yes. Identify below.

             Name of the pension fund                                                                    Employer Identification number of the pension fund

             ______________________________________________________________                             EIN: ____________________________



 Part 14:           Signature and Declaration


            WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
            connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
            18 U.S.C. §§ 152, 1341, 1519, and 3571.

            I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
            is true and correct.

            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on      09/07/2023
                             _________________
                              MM / DD / YYYY



            /s/ Travis Young
            ___________________________________________________________                               Travis Young
                                                                                         Printed name _________________________________________________
            Signature of individual signing on behalf of the debtor

                                                President
             Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
          No
         
         ✔ Yes




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 14
                                      Case 23-21075                   Doc# 1   Filed 09/11/23            Page 59 of 77
               Matrix Electronic Measuring Inc.
 Debtor Name                                                                                 Case number (if known)



                                                      Continuation Sheet for Official Form 207

28) Additional people in control of the debtor at the time of the filing of this case

George W. Easter                                  638 Highland Ave, Salina,               0.470
                                                   KS 67401

Doug Weller                                       108 N. Bradley, Salina,                 0.940
                                                  KS 67401

MVA Capital Group                                 7829 E. Rockhill #307,                  6.016
                                                  Wichita, KS 67206

KTEC Holdings, Inc                                109 SW 9th St. Suite 5,                 2.820
                                                  Topeka, KS 66612

Kent & Marcy Buer                                 1413 Austin Circle,                     0.008
                                                  Salina, KS 67401

R & B Investment                                  905 West Crawford, Clay                 0.038
LLC/Joseph R. Beck                                Center, KS 67432

R & B Investment                                  905 West Crawford, Clay                 0.038
LLC/Brian Rieger                                  Center, KS 67432

Jeffrey Thompson                                  1725 Vortex Ave., Salina,
                                                   KS 67401

Charles Walker                                    500 Graves Blvd. P.O.                   0.470
                                                  Box 856, Salina, KS 67402

North Central Kansas                              109 N. Mill St., Beloit,                0.940
Community Network, Co                             KS 67420

Joan Myers Hoffman                                539 Upper Mill Heights,                 0.752
                                                  Salina, KS 67401

Thomas R. & or Annette R.                         P.O. Box 367, Haysville,                0.014
 Lough                                            KS 67060

Wichita Holdings, Inc.                            7829 E. Rockhill #307,                  3.478
                                                  Wichita, KS 67206

Russ Barragree                                    , Salina, KS 67401                      0.203

Tammy McArthur                                    858 Eastridge, Salina,                  0.071
                                                  KS 67401

Mid-America Angels                                8527 Blue Jacket St.,                   8.674
Investments, LLC                                  Shawnee Mission, KS 66214

Lee Young                                         3324 S. Simpson Rd.,                    0.188
                                                  Salina, KS 67401

John Peterson                                     2020 Eastbank Dr.,                      0.188
                                                  Salina, KS 67401

William J. Myers                                  2530 Flor De Sol, Salina,               0.940
                                                   KS 67401

David A. Payne & Wealtha                          100 River Place #4,                     0.470




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  Official Form 207                                  Statement of Financial Affairs for Non-Individuals
               Matrix Electronic Measuring Inc.
 Debtor Name                                                                                 Case number (if known)



                                                      Continuation Sheet for Official Form 207
Ann Payne                                         Salina, KS 67401

Deborah Devine Trust                              1748 Glen Ave., Salina,                 0.470
                                                  KS 67401

Karen Hale Young Trust                            4300 N. Ohio St., Salina,               1.410
                                                   KS 67401

R & B Investment                                  905 West Crawford, Clay                 0.470
LLC/Brian Rieger                                  Center, KS 67432

R & B Investment                                  905 West Crawford, Clay                 0.470
LLC/Joseph R. Beck                                Center, KS 67432

Tammie McArthur                                   858 Eastridge, Salina,                  1.880
                                                  KS 67401

Connie J. Eustace                                 P.O. Box 356, Salina, KS                0.470
                                                  67402

North Central Kansas                              109 N. Mill St., Beloit,                0.104
Community Network, Co                             KS 67420

Mid-America Angels                                8527 Blue Jacket St.,                   0.278
Investments, LLC                                  Shawnee Mission, KS 66214

John Divine Trust                                 1748 Glen Ave., Salina,                 0.075
                                                  KS 67401

Karen Hale Young Trust                            4300 N. Ohio St., Salina,               0.157
                                                   KS 67401

David J. Nicol                                    9871 W. 83rd St.,                       0.075
                                                  Shawnee Mission, KS 66204

Richard L. & Janice E.                            7920 E. Hwy 24,                         0.188
Edwards                                           Manhattan, KS 66502

Kevin R. & Mary L.                                652 Briarcliff Rd.,                     0.029
Peterson                                          Salina, KS 67401

Kent D. & Marcy L. Buer                           1413 Austin Circle,                     0.014
                                                  Salina, KS 67401

Julie Sager Miller Trust                          949 Balow Dr., Salina,                  0.021
                                                  KS 67401

Joel M. Berry                                     807 Morning Dove Ct.,                   0.014
                                                  Lawrence, KS 66049

DVK Enterprises                                   13880 W. 30th Ave.,                     0.188
                                                  Golden, CO 80401

Starr Group Inc.                                  6301 Charrington Dr.,                   0.038
                                                  Englewood, CO 80111

Cheryl R. Meier Living                            3191 S. Simpson Rd.,                    0.029
Trust                                             Salina, KS 67401

Kevin L. & Cheryl M.                              1307 Bentley, Salina, KS                0.029




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  Official Form 207                                  Statement of Financial Affairs for Non-Individuals
               Matrix Electronic Measuring Inc.
 Debtor Name                                                                                 Case number (if known)



                                                      Continuation Sheet for Official Form 207
Myers                                             67401

Robert M. & Barbara M.                            360 S. Morris, Salina,                  0.038
Pickrell                                          KS 67401

Thrower Family Trust                              845 1800 Avenue, Abilene,               0.038
                                                   KS 67410

Kent M. Berkley                                   2130 S. Ohio, Salina, KS                0.038
                                                  67401

Wichita Technology                                7829 E. Rockhill #307,                  0.285
Ventures, LLC                                     Wichita, KS 67206

Mollie Carter                                     421 Country Club Rd.,                   0.143
                                                  Salina, KS 67401

John Divine Trust                                 1748 Glen Ave., Salina,                 0.470
                                                  KS 67401

Kent M. Berkley Trust                             2130 S. Ohio, Salina, KS                0.029
                                                  67401

Darwin G. & Kathleen K.                           P.O. Box 367, Haysville,                0.029
Knoll (JTWRS)                                     KS 67060

Justin R. Lough                                   P.O. Box 367, Haysville,                0.014
                                                  KS 67060

George S. Jerkovick                               501 S. Santa Fe. Suite                  0.188
                                                  300, Salina, KS 67401

KS Center for                                     1845 Fairmont, Wichita,                 0.421
Entrepreneurship                                  KS 67206

Connie J. Eustace                                 P.O. Box 356, Salina, KS                0.084
                                                  67402

Salina Vortex Corp                                1725 Vortex Ave., Salina,               2.208
                                                   KS 67401

Joel M. Berry                                     807 Morning Dove Ct.,                   0.008
                                                  Lawrence, KS 66049

Thomas Wortmann                                   5638 Center St., Omaha,                 0.676
                                                  NE 68106

Rebecca Johnson                                   360 Maple Ave., Salina,                 0.007
                                                  KS 67401

Kent M. Berkley Trust                             2130 S. Ohio, Salina, KS                0.099
                                                  67401

George S. Jerkovick                               501 S. Santa Fe. Suite                  0.188
                                                  300, Salina, KS 67401

Sandhills Investment                              2129 Humburger Rd.,                     0.188
Group                                             Salina, KS 67401




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  Official Form 207                                  Statement of Financial Affairs for Non-Individuals
 Fill in this information to identify the case and this filing:

              Matrix Electronic Measuring Inc.
 Debtor Name __________________________________________________________________

                                         District of Kansas
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔ Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔ Schedule H: Codebtors (Official Form 206H)

         
         ✔ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    09/07/2023
        Executed on ______________                          /s/ Travis Young
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Travis Young
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                        Declaration Under Penalty of Perjury for Non-Individual Debtors
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                              United States Bankruptcy Court
                               District of Kansas




         Matrix Electronic Measuring Inc.
In re:                                                            Case No.

                                                                  Chapter    7
                      Debtor(s)




                              Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               09/07/2023                           /s/ Travis Young
Date:
                                                    Signature of Individual signing on behalf of debtor

                                                    President
                                                    Position or relationship to debtor




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A&B Autobody
1650 Winnipeg Street, Regina, SK, S4P 1E

Amazon Web Services, Inc.
410 Terry Ave. North
Seattle, WA 98109

American Express
PO Box 6031
Carol Stream, IL 60197

American Express
1801 NW 66th Ave., Suite 103
Fort Lauderdale, FL 33313

Anderson & Koch Ford- Body Shop
New Branch, MN 55056

APC Auto Body
North Dartmouth, MA 02747

Attorney General, Main Justice Building
950 Pennsylvania Avenue NW
Washington, DC 20530-0001

Auto Body Hawaii
Kailua Kona, HI 96740

Auto Fix South Bay
Redondo Beach, CA 90278

Auto Tech Services Inc
Mansfield, TX 76063

B & D Autobody
1488 Clark Drive, Vancouver, BC, V5L 3K8

Bebrick Collision
Waco, TX 76706

Bennington State Bank
P.O. Box 3197
Salina, KS 67402

Body Builders Automotive, Inc
Rolling Meadows, IL 60008

Buntings Auto Body LLC
Minneapolis, MN 55441

Carrillo & Sons Collison Center Inc.
San Diego, CA 92120

Carstar Brampton
110 Advance Blvd., Brampton, ON, L6T 4J4

CARSTAR Ellis Brothers Collision
Milford, MI 48380

CARSTAR of Hayden
Hayden, ID 83835

CARSTAR Poplar Bluff
Poplar Bluff, MO 63901



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CARSTAR Porter's Kearney Body

CARSTAR Precision Collision Auto Body
Cold Spring, MN 56320

CARSTAR Scola's Collision Center

Charles Walker
500 Graves Blvd.
P.O. Box 856
Salina
KS 67402

Cheryl R. Meier Living Trust
3191 S. Simpson Rd.
Salina
KS 67401

Coggin Collision Center Of Arlington
Jacksonville, FL 32244

Coggin Collision Center Of Orange Park
Jacksonville, FL 32244

Collimotive Carstar
Winter Park, FL 32792

Collimotive Carstar

Collision Specialists Inc
Austin, MN 55912

Conestoga Collision, LLC
Berwyn, PA 19312

Connie Eustace Conv. Debt
P.O. Box 356
Salina, KS 67402

Connie J. Eustace
P.O. Box 356
Salina
KS 67402

Cope Plastics, Inc
P.O. Box 368
Godfrey, IL 62035

Corporativo Boya S.A de C.V.
Mariano Abasolo 612
San Pedro Garza Garcia, 66237

Crawford Body Shop
Burley, ID 83318

Cutting Edge Refinishing, Inc dba Cutting
Tucson, AZ 85714

D&M Auto Body
Rockaway, NJ 07866




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Darwin G. & Kathleen K. Knoll (JTWRS)
P.O. Box
367
Haysville
KS 67060

David A. Payne & Wealtha Ann Payne
100 River Place #4
Salina
KS 67401

David J. Nicol
9871 W. 83rd St.
Shawnee Mission
KS 66204

David Nicol
9871 W. 83rd St.
Shawnee Mission
KS 66204

David's Collision Repair Inc.
Georgetown, TX 78626

DCR Systems LLC
Duluth, GA 30097

DCR/Classic Accident Repair Center
Duluth, GA 30097

Deborah Devine Trust
1748 Glen Ave.
Salina
KS 67401

DJ Sullivan Collision
Marshfield, MA 02050

Doug Weller
108 N. Bradley
Salina
KS 67401

DropBox, Inc.
1800 Owen Street
San Francisco, CA 94158

DVK Enterprises
13880 W. 30th Ave.
Golden
CO 80401

ELI'S AUTO CENTER
Los Angeles, CA 90048

ENS Collision
285 Venture Cresent, Saskatoon, SK, S7K

Eustis Body Shop
Eustis, NE 69028

First Aid Collision
Arden, NC 28704




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Fix Auto Decarie
5400 Rue Ferrier, Ville Mont-Royal, QC,

Fix Auto Redlands
Redlands, CA 92373

Fix Auto Springfield
Springfield, OR 97478

Flower Hill Auto Body

FRANK'S ACCURATE BODY SHOP
Slidell, LA 70461

Garage Landry ET Fils
303 William, Drummondville, QC,   J2C 3C

George Jerkovich IRA Conv. Debt
501 S. Santa Fe. Suite 300
Salina, KS 67401

George S. Jerkovick
501 S. Santa Fe. Suite 300
Salina
KS 67401

George W. Easter
638 Highland Ave
Salina
KS 67401

George's Paint & Body
Bryan, TX 77803

GoDaddy Operating Company LLC
2155 E. GoDaddy Way
Tempe, AZ 85284

Guidelight Business Solutions
301 E. Plasant Street
Amherst, MA 01002

Hampden Auto Body
Englewood, CO 80110

Hansen Capital Investments, LLC
11208 Delmar St.
Shawnee Mission
KS 66211

HCI LLC & HCI LLC 02
11208 Delmar St.
Shawnee Mission, KS 66211

Hjelm's Body Shop
Helena, MT 59601

Internal Revenue Service
PO Box 7346
Philadelphia, PA 19255

Iowa Auto Rebuilders
Waterloo, IA 50701




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Janet & Robert Srack
279 N. 170th Road
Bennington, KS 67422

Janet Srack
279 N. 170th Road
Bennington, KS 67422

Janet Srack 01
279 N. 170th Road
Bennington, KS 67422

Janet Srack 02
279 N. 170th Road
Bennington, KS 67422

Janet Srack 03
279 N. 170th Road
Bennington, KS 67422

Janet Srack 04
279 N. 170th Road
Bennington, KS 67422

Janet Srack 05
279 N. 170th Road
Bennington, KS 67422

Jeffrey Thompson
1725 Vortex Ave.
Salina
KS 67401

Jerry Rhynes Collision Repair
Charlotte, NC 28227

Joan Myers Hoffman
539 Upper Mill Heights
Salina
KS 67401

Joan Myers Jerkovich Conv. Debt
539 Upper Mill Heights
Salina, KS 67401

Joel M. Berry
807 Morning Dove Ct.
Lawrence
KS 66049

John Divine
P.O. Box 2206
Salina
KS 67402

John Divine Trust
1748 Glen Ave.
Salina
KS 67401

John Peterson
2020 Eastbank Dr.
Salina
KS 67401



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Johnny's Pro Auto Body
Wynne, AR 72396

Jones Auto Wrecking
Florence, SC 29501

Julie Sager Miller Trust
949 Balow Dr.
Salina
KS 67401

Justin R. Lough
P.O. Box 367
Haysville
KS 67060

Karen Hale Young Trust
4300 N. Ohio St.
Salina
KS 67401

Ken Vance Motors
Eau Claire, WI 54701

Kent & Marcy Buer
1413 Austin Circle
Salina
KS 67401

Kent D. & Marcy L. Buer
1413 Austin Circle
Salina
KS 67401

Kent M. Berkley
2130 S. Ohio
Salina
KS 67401

Kent M. Berkley Trust
2130 S. Ohio
Salina
KS 67401

Kent M. Berkley Trust Conv. Debt
P.O. Box 180
Salina, KS 67402

Kevin L. & Cheryl M. Myers
1307 Bentley
Salina
KS 67401

Kevin R. & Mary L. Peterson
652 Briarcliff Rd.
Salina
KS 67401

Key Buick GMC Hyundai
Jacksonville, FL 32216




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KS Center for Entrepreneurship
1845 Fairmont
Wichita
KS 67206

KTEC Holdings, Inc
109 SW 9th St.
Suite 5
Topeka
KS 66612

Lee Young
1725 Vortex Avenue
Salina, KS 67401

Lee Young
3324 S. Simpson Rd.
Salina
KS 67401

Lenny's Auto Body
Middleboro, MA 02346

Long Collision Center
Webster, MA 01570

Majestic Auto Body
Idaho Falls, ID 83401

Manuel Collision Center, Inc.
Ada, OK 74820

Matrix Electronic Measuring Properties, LLC
1725 Vortex Avenue
Salina, KS 67401

Matrix Electronic Measuring, LP
1725 Vortex Road
Salina
KS 67401

MAURICE'S AUTO REPAIR & TOWING
Lakeland, FL 33811

MC AUTO BODY
Honolulu, HI 96819

McLaughlin Motors Inc
Moline, IL 61265

Mid-America Angels Investments, LLC
8527 Blue Jacket St.
Shawnee Mission
KS 66214

Midway Collision Center
Somersworth, NH 03878

Mitchell International, Inc.
P.O. Box 229001
San Diego, CA 92192

Mitchell's Crash Repair
Great Falls, MT 59401



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Mollie Carter
421 Country Club Rd.
Salina
KS 67401

Mr. B's Paint & Body

MVA Capital Group
7829 E. Rockhill #307
Wichita
KS 67206

NCKCN
dba StartUp Kansas
P.O. Box 565
Beloit, KS 67420

Nikon Inc.
Wells Fargo Lock Box Operations
1740 Broadway-Lower Level 3
Denver, CO 80274

North Central Kansas Community Network Co.
109 N. Mill Street
P.O. Box 565
Beloit, KS 67420

North Central Kansas Community Network, Co
109 N. Mill St.
Beloit
KS 67420

Northside Collision

O'Hare Auto Body
Bensenville, IL 60106

O.K.C. Autobody Inc.
Sparta, IL 62286

Office of the United States Trustee
400 E 9th Street
Room 3440
Kansas City, MO 64106

Ogston's Body & Paint
Duluth, MN 55811

Oser Communications Group
PO Box 30520
Tucson, AZ 85751

Perfection Auto Body
Burlington, WI 53105

Perfection Auto Inc.

Performance Collision Center
Fairfield, OH 45014

Pho-Tech Service Center
110 N. Main
Box 638
Hesston, KS 67062



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Porter Auto Body East
Newark, DE 19711

Porter Auto Body West
Newark, DE 19711

Precision Autobody Repair
2326 Ave C, North, Saskatoon, SK, S7L5X5

Purnell Body Shop
Elkton, MD 21921

R & B Investment LLC/Brian Rieger
905 West Crawford
Clay Center
KS 67432

R & B Investment LLC/Joseph R. Beck
905 West Crawford
Clay Center
KS 67432

Randazzo's Gallery Collision Center Inc.
Bradley, IL 60915

Randy's Body Shop
Paducah, KY 42003

Rebecca Johnson
360 Maple Ave.
Salina
KS 67401

Richard L. & Janice E. Edwards
7920 E. Hwy 24
Manhattan
KS 66502

Rife's Autobody - Grandview
Columbus, OH 43215

Robert M. & Barbara M. Pickrell
360 S. Morris
Salina
KS 67401

Ron's Collision Center
Somerset, PA 15501

Russ Barragree
Salina
KS 67401

Russom's CARSTAR Collision
Dyersburg, TN 38024

Russom's CARSTAR Collision - Rutherford
Rutherford, TN 38369

Russom's CARSTAR Collision-Cape Girardeau
Cape Girardeau, MO 63701




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Salina Vortex Corp
1725 Vortex Ave.
Salina, KS 67401

Salina Vortex Corp
1725 Vortex Ave.
Salina
KS 67401

Salina Vortex Corp.
1725 Vortex Ave.
Salina, KS 67401

Salina Vortex Corporation
1725 Vortex Ave.
Salina, KS 67401

Sandhills Investment Group
c/o Mr. Scott Henderson
2129 Humburger Road
Salina, KS 67401

Sandhills Investment Group
2129 Humburger Rd.
Salina
KS 67401

Sidney Body CARSTAR
Sidney, OH 45365

Sines Body Shop, Inc.
Fayetteville, AR 72702

Sound Collision Center
Renton, WA 98057

Spencer Fane Britt & Browne LLP
1000 Walnut Street
Suite 1400
Kansas City, MO 64106

Starr Group Inc.
6301 Charrington Dr.
Englewood
CO 80111

Tammie McArthur
858 Eastridge
Salina
KS 67401

Tammy McArthur
858 Eastridge
Salina
KS 67401

The Body Shop
Denver, CO 80224

Thomas R. & or Annette R. Lough
P.O. Box 367
Haysville
KS 67060




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Thomas Srack - Bridge Loan
279 N. 170th Rd.
Bennington, KS 67422

Thomas Waldron CARSTAR Auto Body
Worcester, MA 01604

Thomas Wortmann
5638 Center St.
Omaha
NE 68106

Three C Body Shop
Columbus, OH 43223

Thrower Family Trust
845 1800 Avenue
Abilene
KS 67410

Tom Srack
279 N. 170th Road
Bennington, KS 67422

Top Gun Autobody
Helena, MT 59602

Top Gun Autobody - Townsend
Townsend, MT 59644

Travis Young
1725 Vortex Ave.
Salina
KS 67401

Troy CARSTAR
Troy, OH 45373

Tucker Auto Body & Towing
Imperial, CA 92251

U.S. Attorney, KS- Bankruptcy
500 State Ave., Ste. 360
Kansas City, KS 66101

U.S. Attorney, WDMO- Bankruptcy
400 East 9th Street, Room 5510
Kansas City, MO 64106

Universal Collision Centre
3910 Rochdale Blvd., Regina, SK, S4X 4P7

V&J Auto Body
Lindenhurst, NY 11757

Valley Collision II
Covina, CA 91723

Waldron's A-1 Auto Body
Lancaster, MA 01523

Waldron's CARSTAR Auto Body
Marlborough, MA 01752




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Weaver's Body Shop of Gettysburg
Hanover, PA 17331

Web Creations & Consulting
119 W. Iron, FL 2
Salina, KS 67401

Westchester Classic Cars & Coachwork LTD
Danbury, CT 06810

WHI 02 Wichita Holdings, Inc.
Ms. Patricia Brashed
7829 E. Rockhill, #307
Wichita, KS 67206

WHI Wichita Holdings, Inc.
c/o Ms. Patricia Brashed
7829 E. Rockchild #307
Wichita, KS 67206

Wichita Holdings, Inc.
7829 E. Rockhill #307
Wichita
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Wichita Technology Ventures, LLC
7829 E. Rockhill #307
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KS 67206

Wild Rhino LLC
1725 Vortex Avenue
Salina, KS 67401

William J. Myers
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ZoHo Corp.
4141 Hacienda Drive
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Zoom
55 Almaden Blvd.
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